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                              EXHIBIT B
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                                                  EFiled: Jul 20 2020 04:20PM EDT
                                                  Transaction ID 65782685
                                                  Case No. N20C-05-144 PRW CCLD
         IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

  ESTATE OF MARTHA BAROTZ, by               )
  its Executor, PETER BAROTZ,               )
                                            )
                                 Plaintiff, )    C. A. No. N20C-05-144 PRW
                                            )    CCLD
                     v.                     )
                                            )
  U.S. BANK, N.A., as Securities            )
  Intermediary, and VIDA LONGEVITY          )
  FUND, L.P.                                )
                                            )
                             Defendants. )

      OPENING BRIEF IN SUPPORT OF DEFENDANTS’ MOTION TO
      DISMISS OR STAY FOR FORUM NON CONVENIENS, OR, IN THE
      ALTERNATIVE, TO DISMISS DEFENDANT U.S. BANK, N.A., AS
         SECURITIES INTERMEDIARY FOR LACK OF PERSONAL
                          JURISDICTION




                                 David P. Primack (#4449)
                                 MCELROY, DEUTSCH, MULVANEY
                                  & CARPENTER, LLP
                                 300 Delaware Ave., Suite 770
                                 Wilmington, DE 19801
                                 Telephone: (302) 300-4512
                                 Facsimile: (302) 654-4031
                                 E-mail: dprimack@mdmc-law.com

                                 Counsel for Defendants
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        Defendants U.S. Bank, N.A., solely as Securities Intermediary (“Securities

  Intermediary”) and Vida Longevity Fund, L.P. (“VLF” and, together with

  Securities Intermediary, the “Defendants”), by and through their counsel,

  respectfully submit this opening brief in support of their motion to dismiss or, in

  the alternative, to stay, the action brought by the putative Estate of Martha Barotz

  (the “Estate”), by and through its alleged Executor, Peter Barotz (the “Executor”),

  or, in the alternative to dismiss Securities Intermediary for lack of personal

  jurisdiction.

                          PRELIMINARY STATEMENT
        This motion primarily asks the Court to dismiss or stay this action in favor

  of an action involving the same parties that is pending in New York – a jurisdiction

  that has a greater connection to the parties and which is the only jurisdiction in

  which the parties can be afforded complete relief in a single proceeding. To the

  extent the Court determines that this action should proceed, Securities Intermediary

  should be dismissed for lack of personal jurisdiction

        First and foremost, there is another action pending between the parties in

  New York that was the first duly filed action that covers all of the parties and

  matters at issue between the Plaintiff and Defendants. This action was initially

  filed against a different defendant, which has been dismissed. Neither Defendant

  was named or served until after Defendants had filed the proceeding in New York


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  (the “New York Action”) against Plaintiff, and served Plaintiff with process in that

  action.   The New York Action is thus the first filed case. After Defendants

  completed service in the New York Action, Plaintiff amended the complaint in this

  action to add them as parties. The only named defendant in this action prior to the

  New York Action was Wells Fargo Bank, sued in a capacity as Securities

  Intermediary. Not only was the New York Action the first-filed action to include

  all of the proper parties, it would have been filed well before the filing of this

  action if not for the fact that New York Court system prohibited such the filing due

  to the COVID-19 pandemic from March 22, 2020 to May 24, 2020.

        Furthermore, the principles underlying forum non conveniens dictate that

  this action should be dismissed or stayed in favor of the New York Action. As the

  subject insurance policy (the “Policy”) insured a New York resident, New York

  has an interest in having its insurance laws applied to the Policy – which can best

  be done by a New York court. Furthermore, New York is the only forum that can

  render full and complete relief. Defendants have several meritorious equitable

  defenses to the allegations in the Complaint, which this Court has recognized can

  only be asserted in Chancery Court. Thus, if this action were allowed to proceed,

  Defendants would have to also litigate the New York Action or would be required

  to commence a proceeding in Chancery Court to have their equitable defenses

  heard. The necessity to litigate in two courts can be avoided by dismissing or


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  staying this action.

        Additionally, practical and convenience factors weigh in favor of dismissal

  or stay of this action. The Plaintiff is located in New York and New York is the

  likely location of the Plaintiff’s records and the records of the insured’s.

  Moreover, Defendants have their offices and records in states other than Delaware.

  Thus, it is clear that New York, is more convenient than Delaware. Aside from

  convenience, efficiency also weighs in favor of dismissal based on the piecemeal

  nature in which this action would need to proceed in Delaware in light of

  Defendant’s equitable defenses. The parties would face unnecessary and undue

  hardship litigating in Delaware because of the increased cost associated with

  litigating this dispute in this Court and in the New York Action or in Chancery

  Court. As such, it is clear that this action should be dismissed or stayed in favor of

  the New York Action.

        To the extent this action is not dismissed or stayed, Securities Intermediary

  should be dismissed as a party for lack of personal jurisdiction.          Securities

  Intermediary does not maintain any offices in this state, was not established under

  the laws of this state, and does not conduct the type of business at issue in this

  state. Furthermore, the allegations that purport to connect this matter to Delaware

  do not concern Securities Intermediary, nor does Plaintiff allege that Securities

  Intermediary engaged in any acts in Delaware related to this dispute. As such there


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   is no general or specific jurisdiction over Securities Intermediary.

                               STATEMENT OF FACTS
         On April 20, 2006, Pacific Life Insurance Company (“Pac Life”) issued the

   Policy -- life insurance policy no. VF5149922-0, insuring the life of Martha Barotz

   (the “Insured”) in the amount of $8,000,000. First Amended Complaint (“Am.

   Compl.”) at ¶ 17; See attached Exh. A at 1.

         Martha Barotz’s application for the Policy states that the prospective insured

   was born in New York, resides in New Rochelle, New York, and has a New York

   driver’s license. Id., Exh. A at 28. The application’s medical history was signed by

   the prospective insured at New Rochelle, New York and by a doctor at New York,

   New York. Id., Exh. A at 41. A medical examination was conducted in connection

   with the application by a doctor in Larchmont, New York, as attested on the

   application form. Id. Exh. A at 1. While the owner of the Policy was a trustee

   located in Wilmington, the sole trust beneficiary and also the co-trustee of the

   Trust was the insured’s husband who also lived in New York, cite.

         On or about May 9, 2009, Securities Intermediary became the Securities

   Intermediary for the Policy. Declaration Of Christopher J. Nuxoll In Support Of

   Defendants Motion To Dismiss Or Stay For Forum Non Conveniens, Or, In The

   Alternative, To Dismiss Defendant U.S. Bank, N.A., As Securities Intermediary

   For Lack Of Personal Jurisdiction (“Nuxoll Decl.”) at ¶ 6. Subsequent to May 9,


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   2009, Securities Intermediary’s customer, which was the beneficial owner of that

   Policy, sold its interest to VLF. Id. at ¶ 7. Following that transaction, Securities

   Intermediary continued to serve as securities intermediary but did so solely for the

   benefit of VLF as it relates to the Policy. Id. at ¶ 8.

         On or about December 22, 2018, the Insured passed away. Am. Compl. at ¶

   30. The Insured’s estate was probated in New York State Surrogate’s Court in

   Westchester County. See attached Exh. B. The Estate was established in New

   York after the death of Martha Barotz, a resident of the State of New York. Am.

   Compl. at ¶ 1. Mrs. Barotz was at all times relevant a citizen of the State of New

   York. Id. The Executor of the Estate is a resident of Westchester County, New

   York and a citizen of New York. Id. The Estate is a citizen of the State of New

   York. Id.

         Securities Intermediary submitted a claim for payment of the Policy’s death

   benefit. Am. Compl. at ¶ 32.        On or about January 17, 2019, the Policy’s death

   benefit of $8,005,698.63 was paid to Securities Intermediary, which received the

   funds solely for the benefit of VLF as beneficial owner. Nuxoll Decl. at ¶ 9. On

   April 26, 2017, Securities Intermediary promptly credited VLF’s account with the

   full death benefit in the amount of $8,005,698.63. Id. at ¶ 10.

         On May 25, 2020, Plaintiffs commenced the New York Action against the

   Estate in New York Supreme Court by filing a summons and complaint. Am.


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   Compl. at ¶ 34; attached Exh. C. The New York Action seeks, inter alia, a

   declaration that VLF is the rightful owner of the Policy’s death benefit.      Id.

   Service of the Summons and Complaint was effected on the Estate on May 27,

   2020. See attached Exh. D.

         Defendants had previously decided to file the New York Action on April 13,

   2020. See attached Exh. E at ¶ 3. However, in response to COVID-19, New York

   State’s Chief Administrative Judge of the Courts, Lawrence Marks, had issued an

   order on March 22, 2020, suspending all new filings in the New York Supreme

   Court (the “March 22 Order”). See attached Exh. F. But for that order, counsel for

   Defendants would have filed and served the summons and complaint on April 13,

   2020. Exh. E at ¶ 4. On May 20, 2020, Judge Marks issued an internal

   memorandum (the “May 20 Memorandum”) that allowed for the filing of new non-

   essential matters with this Court beginning on May 25, 2020. See attached Exh. G.

         Plaintiff commenced this action on May 15, 2020. See Complaint. The

   Complaint named Wells Fargo Bank, N.A., in a capacity as Securities Intermediary

   for an unnamed party, as the sole defendant. Id. On or about May 29, 2020, after

   Defendants commenced the New York Action and effected service of the

   Summons and Complaint on Plaintiff, Plaintiff amended its complaint to add

   Defendants. See Am. Compl. On or about June 5, 2020, Plaintiff voluntarily

   dismissed Wells Fargo from this action. See attached Exh. H.


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                    STATEMENT OF QUESTIONS INVOLVED
         Should this Court dismiss or stay in favor of a New York Action based on a

   controversy that has no connection to Delaware, where a New York forum can

   offer prompt and complete relief?

         Should this Court, alternatively, dismiss Securities Intermediary for lack of

   personal jurisdiction?

                                       ARGUMENT
         The motion to dismiss or stay should be granted based on the McWane

   factors and forum non conveniens principles, the Cryo-Maid factors and

   considerations of convenience, comity, efficiency, fairness, and the orderly

   administration of justice.      The alternative motion to dismiss Securities

   Intermediary should be granted because the Estate cannot satisfy its burden of

   establishing person jurisdiction over Securities Intermediary.

    I.   THE MOTION TO DISMISS OR STAY FOR FORUM NON
         CONVENIENS SHOULD BE GRANTED
         The standard for a stay or dismissal under Delaware law based on forum non

   conveniens, where there are two concurrent litigations, begins with assessing

   which case was filed first (Gramercy Emerging Mts. Fund v. Allied Irish Banks,

   P.L.C., 173 A.3d 1033, 1037 (Del. 2017)). Delaware avoids a “rigid mechanical”

   first filed rule. Kerotest Mfg. Co. v. C-O-Two Fire Equipment Co., 342 U.S. 180,

   184 (1952).     Instead “Delaware courts have considered the circumstances

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   surrounding the first-filed action in determining if it should receive the deference

   generally afforded to a first-filed action.” Nat'l Union Fire Ins. Co. of Pittsburgh,

   PA v. Crosstex Energy Servs., L.P., 2013 WL 6598736, at *4 (Del. Super. Ct. Dec.

   13, 2013) (“Crosstex”) (granting motion to stay). When considering whether to

   afford deference to a lawsuit that is filed first, “Delaware courts usually evaluate a

   motion to stay using forum non conveniens principles.” McWane, Inc. v. Lanier,

   C.A. No. 9488-VCP, 2015 WL 399582, at *10 (Del. Ch. Jan. 30, 2015).

         If there is no first-filer or both actions are considered contemporaneously

   filed, courts consider general forum non conveniens principles including the

   McWane factors such as, which court is “capable of doing prompt and complete

   justice, involving the same parties and the same issues” with a view to

   “considerations of comity and the necessities of an orderly and efficient

   administration of justice.” McWane Cast Iron Pipe Corp. v. McDowell-Wellman

   Eng'g Co., 263 A.2d 281, 283 (Del. 1970).

         If this action were deemed to be the first-filed, the Cryo-Maid standard is

   used on a motion to stay or dismiss. Gramercy, 173 A.3d at 1044. The Cryo-Maid

   analysis considers convenience factors: (1) the relative ease of access to proof; (2)

   the availability of compulsory process for witnesses; (3) the possibility of the view

   of the premises. Ison v. E.I. DuPont de Nemours & Co., 729 A.2d 832, 837–38

   (Del. 1999); Gen. Foods Corp. v. Cryo-Maid, Inc., 41 Del. Ch. 474, 479, 198 A.2d


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   681, 684 (1964). It also considers one-forum efficiency considerations such as: (4)

   the pendency or non-pendency of a similar action or actions in another jurisdiction;

   and (5) all other practicalities that would make the trial of the case easy,

   expeditious and inexpensive in the Delaware forum or elsewhere. Gramercy, 173

   A.3d at 1036-37.      In either posture, dismissal for forum non conveniens is

   appropriate only upon showing of “overwhelming hardship” to the Defendants.

   Kolber v. Holyoke Shares, Inc., 59 Del. 66, 69–70, 213 A.2d 444, 446–47 (1965);

   Ison, 729 A.2d at 837–38.

         A.     The New York Action Should Be Regarded As First-Filed Or
                Contemporaneously Filed
         Delaware courts are weary of plaintiffs seeking to win a “race to the

   courthouse.” See South v. Baker, 62 A.3d 1, 20-26 (Del. Ch. 2010) (applying a

   presumption of inadequacy for first-filer plaintiffs’ attorneys in shareholder

   derivative actions); see also Crosstex, 2013 WL 6598736, at *4; Playtex, Inc. v.

   Columbia Cas. Co., 1989 WL 40913, at *2,*4-*6 (Del. Super. Ct. Apr. 25, 1989).

   In Crosstex, the court stated that “Delaware courts have declined to give first-filed

   status to actions filed in a trivially faster manner,” and the court considered the

   circumstances surrounding the technically first-filed action. Crosstex, 2013 WL

   6598736, at *4 (internal quotations omitted). In deciding to defer to the later-filed

   Texas action, the court placed emphasis on the insured’s location as the natural

   location (and law) for the action. Id. at *4-5.

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         This action did not originally name VLF or Securities Intermediary as

   parties. Moreover, once they were named as parties, the New York Action had

   already been commenced. Certain Underwriters at Lloyds Severally Subscribing

   Policy No. DP359504 v. Tyson Foods, Inc., I.D. No. 07C-06-255-JEB, 2008 WL

   660485, at *2 (Del. Super. Ct. Mar. 7, 2008) (“In Stepak v. Tracinda Corp. and in

   Joyce v. Cuccia, the Court of Chancery denied first filed status to the first filed

   complaint because the complaint was filed with instructions to withhold service in

   order to conceal the filing from the defendant.”). The New York Action was the

   first action in which all the parties were named, and the first action in which all the

   necessary parties were served with process. Furthermore, the New York Action

   would have been filed prior to Plaintiff filing this action against an irrelevant

   defendant but for prohibitions on filing that were imposed because of the COVID-

   19 pandemic – a factor that Defendants should not be punished for. Therefore, it

   would be wrong to afford the Estate any technical advantage associated with suing

   the wrong party first. Rather, this Court should regard the New York Action as

   filed first or, at the very least, filed contemporaneously with this action.




         B.     The McWane Factors And Forum Non Conveniens Principles As
                Well As The Cryo-Maid Factors Favor A Stay Of This Action
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                1.      The McWane Factors and General Forum Non
                        Conveniens Principles Weigh In Favor Of A
                        Dismissal, Or, In The Alternative, a Stay Of This
                        Action

         As the New York Action should be regarded as first-filed, or

   contemporaneously filed, the proper standard under which to determine forum non

   conveniens are the McWane factors, which, as noted, include, which court is

   “capable of doing prompt and complete justice, involving the same parties and the

   same issues” with a view to “considerations of comity and the necessities of an

   orderly and efficient administration of justice.” McWane Cast Iron Pipe Corp.,

   263 A.2d at 283.       Forum non conveniens principles, which also should be

   analyzed, consider the general convenience of the parties and witnesses and the

   interest of justice. Atl. Marine Const. Co. v. U.S. Dist. Court for W. Dist. of Tex.,

   571 U.S. 49, 62–63 (2013); In re: Howmedica Osteonics Corp, 867 F.3d 390, 402-

   03 (3d Cir. 2017).

         Determinative in these parallel actions in New York and Delaware,

   involving the same claims, is New York’s interest in regulating its insurance

   market and affording protections to its residents.       “The business of writing

   insurance has long been recognized as a business affected with a public interest

   and, therefore, subject to detailed regulation by the state for the protection of the

   public;” “it is [a] privilege granted by the state subject to the conditions imposed

   by the state and to its control and supervision.” Application of Bohlinger, 199

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   Misc. 941, 967, 106 N.Y.S.2d 953, 977 (N.Y. Sup. Ct. 1951); Lincoln Nat’l Life

   Ins. Co. v. Joseph Schlanger 2006 Ins. Tr., Civ. No. 09–506–GMS, 2010 WL

   2898315, at *4 (D. Del. July 2, 2010). The Policy insured a New York resident

   and the parties seeking to lay claim to the Policy’s death benefit – the Estate and

   Executor – are New York residents and citizens. Therefore, New York has a

   strong interest in seeing this controversy litigated in a local forum. Colorado River

   Water Conservation Dist. v. United States, 424 U.S. 800, 818-19 (1976); see also

   Briley v. Blackford, No. 89 CIV. 8365 (PNL), 1990 WL 124341, at *4 (S.D.N.Y.

   Aug. 21, 1990).

         Fundamentally, this Court also lacks the power to render prompt and

   complete justice and resolve all of the claims in this litigation. Progressive Cas.

   Ins. Co. v. Bowman Trailer Leasing, LLC, C.A. No.: N17C-12-333 AML, 2018

   WL 3853875, at *3 (Del. Super. Ct. Aug. 13, 2018).             Equitable claims and

   defenses are integral to this action—precluding entitlement claims by family

   members to the Policy’s death benefit. John Hancock Life Ins. Co. of N.Y. v.

   Solomon Baum Irrevocable Family Life Ins. Tr., 357 F. Supp. 3d 209, 220

   (E.D.N.Y. 2018), aff’d, 783 F. App’x 89 (2d Cir. 2019). Specifically, Baum holds

   that the defenses of laches, ratification and unclean hands are crucial in cases

   where an estate is seeking to recover proceeds from a policy that the insured

   permitted to be transferred to third parties. If this case is not dismissed, Defendants


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   will raise equitable defenses based on Plaintiff’s delay in asserting his and the

   insured’s purported rights to the Death Benefit.

         Defendants’ equitable defenses can be asserted in the same court in which

   the New York Action is pending because New York does not maintain a distinction

   between law and equity. See N.Y. Const. Art. VI, § 7. However, as this Court

   recently recognized, Delaware maintains the distinction between law and equity,

   and the Delaware Superior Court lacks jurisdiction over equitable claims and

   defenses. Perlman, et al. v. Vox Media, Inc., 2020 WL 3474143, at *5 (Del Super

   Ct June 24, 2020); Sun Life Assurance Co. of Canada v. Wilmington Trust, N.A.,

   2018 WL 3805740, at *3 (Del. Super. Ct. Aug. 9, 2018).

         Because Delaware (unlike New York) maintains the distinction between law

   and equity, and it is a well-settled principle that the Delaware Superior Court lacks

   subject matter jurisdiction to entertain equitable claims and defenses, the

   Defendants would be forced to continue to litigate the New York Action or to

   initiate yet another action in the Delaware Court of Chancery to adjudicate their

   applicable equitable claims and defenses. Dickerson v. Murray, 2015 WL 447607,

   at *7 (Del. Super. Ct. Feb. 3, 2015); Cf. John Hancock Life Ins. Co. of N.Y., 357 F.

   Supp. at 217; Sun Life Assur. Co., 2018 WL 3805740, at *3. Significantly, this

   would impose considerable cost, injustice and inconvenience on the all parties.




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                2.     The Cryo-Maid Factors Favor A Motion to
                       Dismiss or in Alternate a Stay of the Delaware
                       Action

         To the extent this action is deemed first-filed, the Cryo-Maid factors also

   counsel in favor of a stay or dismissal. Foremost, the Delaware forum is not a

   convenient forum for this action. Moreover, all other practical considerations point

   away from Delaware and also counsel in favor of the pending New York Action, as

   noted, the only forum that can grant complete and prompt adjudication of the right

   to the Policy’s death benefit.

                       a. Convenience Factors Disfavor the Delaware
                          Forum

         Delaware has no real connection to the dispute except as the place that the

   trust that originally owned the Policy was located. Aranda, 183 A.3d at 1253. The

   Trust was formed by Ms. Barotz in New York, and the co-trustee and sole

   beneficiary of the trust was her son, also in New York. Therefore, the case should

   be dismissed or, in the alternate, stayed because convenience factors such as the

   access to proof and witnesses are not available in Delaware, weighing heavily

   against Delaware. Nat'l Union Fire Ins. Co. of Pittsburgh, PA v. Turner Constr.

   Co., 2014 WL 703808, at *4, *6 (Del. Super. Ct. Feb. 17, 2014). Delaware’s

   connection to this controversy is severely attenuated. Ison, 729 A.2d at 839.

         The Plaintiff in the Complaint stated that “a substantial portion of the events

   giving rise to this claim occurred in Delaware.” Am. Compl. at ¶ 6. However, as

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   Plaintiff alleges, the Estate was established in New York; the insured and the

   Executor and the Estate were/are New York residents; and the Estate, the insured

   and the Executor were/are New York citizens. Id. at ¶ 1. Given these New York

   connections, it is difficult to understand how Plaintiff can claim that a substantial

   portion of the events giving rise to its claim occurred in Delaware. Moreover, the

   witnesses, documents, and records are not in Delaware; they are in New York,

   Texas and Minnesota – the locations of the three parties to this action.

   Furthermore, the Plaintiff’s claimed injury occurred in New York, the location of

   the insured during the term of the Policy and the residence of the Executor. See

   Aranda, 183 A.3d at 1254; see also Martinez v. E.I. DuPont De Nemours & Co.,

   82 A.3d 1, 30 (Del. Super. Ct. 2012), aff'd, 86 A.3d 1102 (Del. 2014). Delaware

   should not administer this suit when its interest in the suit and connection to the

   subject matter is ephemeral and so attenuated. Id.

         The very clear New York connections discussed above also make clear that

   the locus of this dispute and its center of gravity is New York. See, e.g., Audi AG

   & Volkswagen of Am. v. D’Amato, 341 F. Supp. 2d 734, 751 (E.D. Mich. 2004)

   (“A fundamental principle . . . is that litigation should proceed in [the district]

   where the case finds its center of gravity.”); Gulf Oil Corp. v. Gilbert, 330 U.S.

   501, 508 (1947) (“Important considerations are the relative ease of access to

   sources of proof; availability of compulsory process for attendance of unwilling,


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   and the cost of obtaining attendance of willing witnesses; possibility of view of

   premises, if view would be appropriate to the action; and all other practical

   problems that make trial of a case easy, expeditious and inexpensive.”). The trial

   of this case in Delaware will be inconvenient to the Plaintiff, and any other family

   members of the insured or Estate located in New York and a waste of the Court’s

   judicial resources. The Court should not deploy its resources to resolve a case with

   little connection to Delaware because access to the evidence, the witnesses, and

   proof are not available in Delaware. See Aranda, 183 A.3d at 1254. The Delaware

   Action should therefore be dismissed or stayed.

                      b. Practical and Efficiency         Considerations
                         Disfavor Delaware

         Trial of this case within the Delaware would not be expeditious and would

   result in significant hardship and additional cost to the Defendants. Delaware

   would not be an efficient forum for litigating this dispute. The pendency of a

   parallel action in New York where all of the issues can be comprehensively treated

   also persuade in favor of a dismissal or stay. As stated above, piecemeal resolution

   of this dispute is certain, if the Delaware Action is permitted to continue.

   Monsanto Co. v. Aetna Cas. & Sur. Co., 559 A.2d 1301, 1311 (Del. Super. Ct.

   1988). This is because the Estate is a New York resident; this Court does not have

   jurisdiction over all of the Defendants’ claims and defenses in equity, denying the

   Defendants complete justice.

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         If this Court asserts primacy over this action, inconsistent and conflicting

   rulings between the parallel litigations are a possibility. McWane Cast Iron Pipe

   Corp., 263 A.2d at 283. As the court in Martinez stated aptly for this case, there is

   no public interest in Delaware courts adjudicating where there is “no local

   interest,” “[t]here is no local controversy, and ‘home’ is not Delaware to Plaintiff.”

   Martinez, 82 A.3d at 38. Therefore, the Estate should not be permitted to litigate

   this case in Delaware.

                3.    Defendants Will Face Undue and Overwhelming
                      Hardship If This Litigation is Permitted to Proceed
                      in Delaware; The Motion to Dismiss Should Be
                      Granted

         Based on a totality of the factors and the Defendants’ overwhelming

   hardship, dismissal is warranted. IM2 Merch. & Mfg., Inc. v. Tirex Corp., 2000

   WL 1664168, at *8 (Del. Ch. Nov. 2, 2000) (“Tirex”) (granting a motion to

   dismiss) (“In evaluating whether the defendants have met their burden, I cannot

   give excessive weight to any particular factor, but must consider the weight of all

   the relevant factors, being mindful of the heavy burden borne by the defendants.”).

   “There is a proper place for dismissals in Delaware based on forum non

   conveniens,” and “the overwhelming hardship standard is in reality less onerous

   than the Court’s decisions have appeared to suggest.” Martinez, 82 A.3d at 26, 37

   (granting a motion to dismiss).       In granting dismissal, the Martinez Court

   emphasized the inappropriateness of the Delaware forum because Delaware had

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   only a tenuous connection to the litigation through a nominal Delaware

   corporation, as here with the Delaware trust. Id. at 36, 39. The opinion further

   underlined the “significant hardship” imposed on the defendant and the “increased

   expense, inconvenience, and delay” in defending the action when Delaware law

   was inapplicable.

         Tirex also stands for the proposition that dismissal is appropriate where

   “significant and undue costs” will be placed on defendants that “are unjustified by

   any countervailing public or legitimate private interest served by conducting [the

   case in Delaware]. . .The defendants are being subjected to this inconvenience

   solely because Tirex is a Delaware corporation even though this fact has little, if

   any, importance to the plaintiff’s claims.” Tirex, 2000 WL 1664168, at *11. The

   reasoning from these cases should govern here.

         The Estate’s apparent tactic in this action is to create more litigation, drain

   resources, and wrangle the parties and the courts into an extensive forum battle,

   eluding the interests of judicial economy, comity, efficiency, fairness, and the

   orderly administration of the property—the Policy’s death benefit. BP Oil Supply

   Co. v ConocoPhillips Co., 2010 WL 702382, at *2 (Del. Super. Ct. Feb. 25, 2010).

   As detailed above, the Estate is a New York resident; the Executor is a New York

   citizen and resident; the New York forum has the strongest pull on this

   controversy; the witnesses and records are not in Delaware; and there is no nexus


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   to Delaware beyond the fact that the trust that was the original owner and

   beneficiary of the Policy was a Delaware trust. Furthermore, there is an available

   adequate forum in New York that can offer prompt and complete relief. See id. at

   *2. Unjustified cost, delay, and inconvenience are certain if this Delaware Action

   is permitted to proceed. This case should be dismissed.

    II.   IN THE ALTERNATIVE, SECURITIES INTERMEDIARY SHOULD
          BE DISMISSED FROM THIS ACTION FOR LACK OF PERSONAL
          JURISDICTION
          To the extent this Court decides not to dismiss or stay this action, it

   nonetheless should be dismissed for lack of personal over Securities Intermediary

   pursuant to Superior Court Civil Procedure Rule 12(b)(2).

          On a motion to dismiss for lack of personal jurisdiction pursuant to Superior

   Court Civil Procedure Rule 12(b)(2), the plaintiff bears the burden of showing a

   basis for the trial court's exercise of jurisdiction over a nonresident defendant.

   Wiggins v. Physiologic Assessment Servs., LLC, 138 A.3d 1160, 1164 (Del. Super.

   Ct. 2016); McKamey v. Vander Houten, 744 A.2d 529, 531 (Del. Super. Ct. 1999).

   Although the Court must have personal jurisdiction under Delaware’s long-arm

   statute1 and the Due Process Clause, “the long arm statute is only as broad as the


   1
     See also 10 Del. C. § 3104(c)(1)-(4). As the Delaware Superior Court has
   recognized:

                Specific jurisdiction depends on an affiliation between
                the forum and the underlying controversy, principally,
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   Due Process Clause will allow it to be, and cases interpreting the constitutional

   reach of personal jurisdiction supersede conflicting language in the long arm

   statute. Rosado v. State Farm Mutual Automobile Insurance Company, 2020 WL

   3887880, at *2 (Del. Super. Ct. July 9, 2020).

         “Due process requires that a defendant be haled into court in a forum State

   based on his own affiliation with the State, not based on the ‘random, fortuitous, or

   attenuated’ contacts he makes by interacting with other persons affiliated with the

   State.” Walden v. Fiore, 571 U.S. 277, 286 (2014) (quoting Burger King Corp. v.

   Rudzewicz, 471 U.S. 462, 475 (1985)). The requisite contacts between the

   defendant and the forum may be general (all-purpose), or specific (conduct-

   linked). See Daimler AG v. Bauman, 571 U.S. 117, 122 (2014). Additionally, a

   party subject to personal jurisdiction must have contacts strong enough “such that

   the maintenance of the suit does not offend traditional notions of fair play and

   substantial justice.” Int’l Shoe Co. v. State of Wash., Office of Unemployment

                that the activity or occurrence takes place in the forum
                state and is therefore subject to the State's
                regulation….Sections 3104(c)(1), (c)(2), and (c)(3) of 10
                Del. C. § 3104 have been deemed to be specific
                jurisdiction provisions….Subsection (c)(4) of 10 Del. C.
                § 3104, pertains to general jurisdiction in cases where the
                cause of action is unrelated to Delaware contacts. As
                discussed above, general jurisdiction is premised on a
                defendant's forum contacts that are unrelated to the
                plaintiff's injury.”

   In re Asbestos Litig., 2015 WL 556434, at *6 (Del. Super. Ct. Jan. 30, 2015).
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   Comp. & Placement, 326 U.S. 310, 316 (1945) (internal quotation marks omitted).

         In this case, the Amended Complaint fails to establish any basis for this

   Court to exercise general or specific jurisdiction over Securities Intermediary.

   There is no connection between Plaintiff’s allegations and Delaware, much less

   contacts that would give rise to personal jurisdiction over Securities Intermediary.

         A.     There Is No General Jurisdiction Over Securities Intermediary
         “The court may only exercise general jurisdiction when a defendant's

   contacts with Delaware are so continuous and systematic as to render defendant

   essentially at home in the forum state.”       Ali v. Beechcraft Corp., 2014 WL

   3706619, at *2 (Del. Super. Ct. June 30, 2014) (quotations omitted). As the

   Supreme Court made clear in Daimler, for a corporate entity such as Securities

   Intermediary, such jurisdiction is proper only where the entity is incorporated and

   where it maintains its principal place of business. Daimler AG, 571 U.S. at 137.

         Plaintiff cannot establish general jurisdiction over Securities Intermediary in

   Delaware, as Plaintiff has admitted that Securities Intermediary’s principal place of

   business is not in Delaware (Compl. ¶ 3; Nuxoll Decl. ¶ 4.)2 Furthermore, Plaintiff

   has not, and cannot, allege that Securities Intermediary is incorporated in Delaware

   given that it is a national banking association. Nuxoll Decl., ¶ 4. That ends the

   2
     Indeed, Securities Interemdiary does not have any offices or employees in
   Delaware in connection with the life settlements portion of its business and does
   not supervise the life settlements portion of its business from Delaware. (Nuxoll
   Decl., ¶ 5.)
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   inquiry under Daimler. Similarly, Plaintiff cannot establish general jurisdiction

   over Securities Intermediary under subsection (c)(4) of Delaware’s long-arm

   statute because a party does not come within the terms of the statute if it maintains

   no branch or subsidiary office in Delaware and, like Securities Intermediary, does

   not engage in the applicable business in the state. Mayhall v. Nempco, Inc., 1994

   WL 465545, at *4 (Del. Super. Ct. July 29, 1994); Plumb v. Cottle, 492 F. Supp.

   1330, 1334 (D. Del. 1980). As noted, Securities Interemdiary does not have any

   offices or employees in Delaware in connection with the life settlements portion of

   its business and does not supervise the life settlements portion of its business from

   Delaware. Nuxoll Decl., ¶ 5.

         B.     There Is No Specific Jurisdiction Over Securities Intermediary
         It is also well settled “[s]pecific jurisdiction may be exercised when a

   defendant has purposefully directed its activities at residents of the forum state, and

   where the alleged injuries arose out of those activities.” Sills v. Smith & Wesson

   Corp., 2000 WL 33113806, at *10 (Del. Super. Ct. Dec. 1, 2000) (quotations

   omitted). Moreover, “it is essential in each case that there be some act by which

   the defendant purposefully avails itself of the privilege of conducting activities

   within the forum state, thus invoking the benefits and protections of its laws.” Id.

         Here, there is no basis for the exercise of specific jurisdiction in Delaware

   over Securities Intermediary under that well-established test.       Simply put, the


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   events giving rise to this litigation have no connection whatsoever with Delaware.

   The Policy in question was issued on the life of a New York resident.           See

   Amended Compl. at 1. The Insured did not live in New York at the time she

   applied for the Policy or even at the time that he died. Id; Exh. A at 28. Moreover,

   there is no allegation or suggestion in the Complaint that Securities Intermediary

   engaged in activity in Delaware with respect to the Policy. As a result, not only

   would exercising specific jurisdiction over Securities Intermediary offend due

   process, but subsections (c)(1)-(3) of Delaware’s long- arm statute are inapplicable

   on their face. See 10 Del. C. § 3104(c)(1)-(3).

         Bereft of any contacts between Securities Intermediary and Delaware, the

   Complaint alleges that nonparty Coventry, the entity that allegedly spurred the

   Insured to apply for the Policy, is a “family of interrelated Delaware entities.”

   (Compl. ¶¶ 9. 12.). But the Policy does not evince that Coventry was involved in

   the application for, or issuance of the Policy, in any way. See attached Exh. A at

   28-49. Even if it were, Coventry’s purported contacts with Delaware cannot be

   imputed to Securities Intermediary for purposes of establishing personal

   jurisdiction over Securities Intermediary. As the Supreme Court explained in

   Walden, “[d]ue process requires that a defendant be haled into court in a forum

   State based on his own affiliation with the State, not based on the ‘random,

   fortuitous, or attenuated’ contacts he makes by interacting with other persons


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   affiliated with the State.” 571 U.S. at 286 (quoting Burger King, 471 U.S. at 475).

   Plaintiff cannot therefore rely upon nonparty Coventry’s contacts with Delaware in

   an effort to assert jurisdiction over Securities Intermediary. Coventry’s contacts

   with Delaware would be relevant only if Plaintiff were suing Coventry (and only in

   regard to a Coventry. It is suing Securities Intermediary, which has no connection

   with Delaware.

         Plaintiff makes no effort to create a nexus between Securities Intermediary

   and Delaware. The Amended Complaint alleges that Securities Intermediary

   acquired the Policy an unspecified amount of time after the Policy was issued and

   that benefits from the Policy were initially paid to Securities Intermediary before

   being credited to VLF (Am. Compl. ¶¶ 31, 32.) Significantly, none of these

   activities are alleged to have occurred in Delaware (or to have any connection

   whatsoever with Delaware). The Complaint lacks even the most basic showing that

   Securities Intermediary had any activity in Delaware, much less that Securities

   Intermediary “directed activities” at Delaware that would allow for this Court to

   exercise specific jurisdiction.




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                                   CONCLUSION
         The motion to dismiss should be granted based on Defendants’

   overwhelming hardship in defending this action with no connection to Delaware in

   a Delaware forum. In the alternative, the motion to dismiss or stay should be

   granted based on the pendency of the New York Action that can resolve all of the

   issues and the doctrine of forum non conveniens. Furthermore, to the extent this

   action is allowed to proceed, Securities Intermediary should be dismissed for lack

   of personal jurisdiction.

                                  MCELROY, DEUTSCH, MULVANEY
                                   & CARPENTER, LLP

                                  /s/ David P. Primack
                                  David P. Primack (#4449)
                                  300 Delaware Ave., Suite 770
                                  Wilmington, DE 19801
                                  Telephone: (302) 300-4512
                                  Facsimile: (302) 654-4031
                                  E-mail: dprimack@mdmc-law.com
                                  Counsel for Defendants
    Dated: July 20, 2020




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